                              NO. 07-12-00528-CV
                                       
                            IN THE COURT OF APPEALS
                                       
                       FOR THE SEVENTH DISTRICT OF TEXAS
                                       
                                  AT AMARILLO
                                       
                                    PANEL B
                                       
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MARCH 1, 2013
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                     IN THE INTEREST OF R.D., JR., A CHILD
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             FROM THE COUNTY COURT AT LAW NO. 3 OF LUBBOCK COUNTY;
                                       
               NO. 2011-559,361; HONORABLE JUDY C. PARKER, JUDGE
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Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.


                              MEMORANDUM OPINION
                                       
	A.T., appellant, appeals the order of the trial court terminating the parent-child relationship that existed between herself and the minor child R.D., Jr.  A.T.'s appointed counsel has filed a brief in conformity with Anders v. California rendering her professional opinion that any issue that could be raised on appeal is frivolous and without legal merit.  See 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967).  A.T.'s counsel avers that she has zealously reviewed the record in this matter and can find no arguable points of appeal.  Counsel has filed a motion to withdraw and provided A.T. with a copy of the brief.  Further, counsel has advised A.T. that she has the right to file a pro se response to the Anders brief.  The Court has likewise advised A.T. of this right.  A.T. has not favored the Court with a response. 
	This Court has long held that an appointed attorney in a termination case might discharge his professional duty to his client by filing a brief in conformity with the Anders process.  See In re A.W.T., 61 S.W.3d 87, 88-89 (Tex.App. -- Amarillo 2001, no pet.) (per curiam).  Likewise, other intermediate appellate courts have so held.  See Sanchez v. Tex. Dep't of Family and Protective Servs., No. 03-10-00249-CV, 2011 Tex. App. LEXIS 2162, at *1 (Tex.App. -- Austin March 24, 2011, no pet.) (mem. op.); In re L.K.H, No. 11-10-00080-CV, 2011 Tex. App. LEXIS 1706, at *2-4 (Tex.App -- Eastland March 10, 2011, no pet.) (mem. op.); In re D.D., 279 S.W.3d 849, 849-50 (Tex.App. -- Dallas 2009, pet. denied); In re D.E.S., 135 S.W.3d 326, 326-27 (Tex.App. -- Houston [14[th] Dist.] 2004, no pet.).
	We have conducted our own review of the record in this matter and have come to the conclusion that there are no arguable points of appeal.  See In re A.W.T., 61 S.W.3d at 89.  We, therefore, grant counsel's motion to withdraw.  We remind counsel that A.T. has the right to file a pro se petition for review with the Texas Supreme Court.  Finally, having found no arguable points of appeal requiring reversal, we affirm the judgment of the trial court.

								Mackey K. Hancock
									Justice

